     Case 1:25-cv-02079-AS         Document 1   Filed 03/13/25   Page 1 of 36




                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK


MAHMOUD KHALIL, JANE JOE, SALLY
ROE, NED NOE, LUCY LOE, SAM SOE,
WILL MOE, and KAM KOE, students at
Columbia University and Barnard College,
suing under pseudonyms,
              Plaintiffs.

v.

THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF NEW
YORK;

COLUMBIA UNIVERSITY IN THE CITY
OF NEW YORK;
                                                 COMPLAINT AND JURY
KATRINA ARMSTRONG, in her official               DEMAND
capacity as President of Columbia University
in the City of New York;

BARNARD COLLEGE, COLUMBIA
UNIVERSITY;                                      Civil Case No. _________

LAURA ANN ROSENBURY, in her official
capacity as President of Barnard College,
Columbia University

COMMITTEE ON EDUCATION AND
WORFORCE, U.S. HOUSE OF
REPRESENTATIVES;

TIM WALBERG, in his official capacity as
Chairman of the Committee on Education and
Workforce,



              Defendants.
            Case 1:25-cv-02079-AS      Document 1        Filed 03/13/25      Page 2 of 36




                                           COMPLAINT

PLAINTIFFS, Mahmoud Khalil, Jane Joe, Sally Roe, Ned Noe, Lucy Loe, Sam Soe, Will Moe,

And Kam Koe,1 by their ATTORNEYS, bring this Verified Complaint against DEFENDANTS:

Columbia University (“Columbia”); the Trustees of Columbia University; Barnard College

(“Barnard”); Columbia University Interim President Katrina Armstrong, in her official capacity;

Laura Ann Rosenbury, in her official capacity; Representative Tim Walberg, in his official

capacity; and, the U.S. House of Representatives Committee on Education and the Workforce; and

allege as follows:

                                          INTRODUCTION

    1. Plaintiffs seek declaratory and injunctive relief to prohibit the enforcement of an overbroad

and overreaching February 13, 2025, Letter2 (the “Feb. 13 Letter”) issued by the U.S. House of

Representatives Committee on Education and the Workforce (the “Committee”) demanding that

Columbia University and Barnard College (the “University”)3 produce all student or student-

worker disciplinary records to the Committee relating to eleven specific incidents, which likely

involves the records of hundreds of students, and to enjoin the University from producing the

requested documents or any other student records prior to a finding by this Court.

    2. The Committee’s demand in the Letter that the University provide the student records or



        1
          Plaintiffs meet this Court’s standards to file pseudonymously and under seal, as set forth
in Plaintiffs’ Motion for Leave to Proceed Using Pseudonyms and to File Under Seal Certain
Exhibits with Personally Identifying Information to be filed forthwith.
        2
          Letter from U.S. H.R. Rep. Comm. Educ. & Workforce to Dr. Katrina Armstrong,
Interim President of Columbia Univ., Mr. David Greenwald & Ms. Claire Shipman, Co-Chairs of
the Trs. Columbia Univ. (Feb. 13, 2025), https://edworkforce.house.gov/uploadedfiles/2.13.25
_columbia_letter.pdf [hereinafter the “Feb. 13 Letter”].
    3
      Barnard College is an affiliated women’s college of Columbia University, meaning Barnard
operates as an independent institution with its own trustees, faculty, and administration, but shares
academic resources and facilities with Columbia, allowing students to cross-register for classes
and access both campuses freely. Notably, Barnard graduates receive Columbia degrees.
                                                   2
         Case 1:25-cv-02079-AS           Document 1       Filed 03/13/25      Page 3 of 36




risk the withholding or withdrawal of “billions in federal funding”4 is an improper use of the

Committee’s power to “do indirectly what [they] are barred from doing directly,”5 which is to chill

and suppress speech and association based on the viewpoint expressed. The Committee’s Letter is

clearly intended to chill the protected speech of University’s students through two primary means:

(1) by exposing the students to negative publicity and investigation, pervasive and persistent

harassment, doxing,6 and threats to their safety and lives, and (2) by compelling the University to

discipline and punish students, including the four Plaintiffs, as well as to turn over those students’

(as well as faculty and staff’s) private disciplinary records. This unlawful governmental attempt to

circumvent the First Amendment is typically called “jawboning.”7 Indeed, as the U.S. Supreme

Court recently reiterated, “[g]overnment officials cannot attempt to coerce private parties in order

to punish or suppress views that the government disfavors.”8

    3. Furthermore, the Committee’s political agenda is apparent in its February 13, 2025, Letter

to Columbia. In the Letter, at 1, the Committee accuses students who organized a rally in

recognition of “Martyrs’ Day” over Veterans’ Day of “promot[ing] terrorism and vilify[ing] the

U.S. military.” To accuse a student vigil for “Martyr’s Day” of justifying or promoting terrorism

evidences the deep Islamophobia of the House Committee; in Islam, the concept of “martyrdom”


    4
      See Feb. 13 Letter, ante, at 1 n.1.
    5
      NRA v. Vullo, 602 U.S. 175, 190 (2024).
    6
      See Sen Nguyen, What Is Doxxing and What Can You Do if You Are Doxed?, CNN (Feb. 7,
    2023), https://www.cnn.com/2023/02/07/world/what-is-doxxing-explainer-as-equals-intl-
    cmd/index.html (defining ”doxxing” as the ”intentional revelation of a person's private
    information online without their consent, often with malicious intent”).
    7
      “Jawboning” has been recognized as a phenomenon by First Amendment scholars since the
    late 1970s. See, e.g., Paul R. Verkuil, Jawboning Administrative Agencies: Ex Parte Contacts
    by the White House, 80 Colum. L. Rev. 943, 943 (1980). Scholars have theorized jawboning
    as a practice of not only the executive branch, but also U.S. Congress, as is the case here. See
    Jeffrey A. Love & Arpit K. Garg, 112 Minn. L. Rev. 1195, 1233 (2014). See also Genevieve
    Lakier, Enforcing the First Amendment in an Era of Jawboning, U. CHI. L. REV.,
    Forthcoming (2026).
    8
        Vullo, 602 U.S. at 180.

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           Case 1:25-cv-02079-AS           Document 1      Filed 03/13/25      Page 4 of 36




refers to the “willingness to sacrifice one’s life for the sake of resisting injustice and oppression,”

and represents “devotion to righteous causes expressed through courageous confrontation of

injustice, not indiscriminate violence.”9 Further, even if students could be said to have been

“vilifying” the U.S. military, expressing views critical of the U.S. military—or any military—is

protected political speech unrelated to antisemitism. The Committee’s attempt to force the

Universities to chastise and intimidate student organizers for protected speech is an abuse of its

investigative powers.

    4.    Where, as is the case here, its investigation threatens to significantly infringe on First

Amendment rights, the Committee must “convincingly show a substantial relation between the

information sought and a subject of overriding and compelling state interest.”10 As with all other

forms of hatred and discrimination, antisemitism is unacceptable and should be confronted. The

urgency of this issue is not disputed here. However, the records demanded by the Committee are

not substantially related to antisemitism. Rather, the Committee has instrumentalized accusations

of antisemitism to attack ideas it ideologically opposes. It traffics in anti-Palestinian, anti-Arab,

and Islamophobic dog whistles to justify unjustifiable intrusions on First Amendment rights.

Committee leaders have made several concerning statements regarding the extent of their interests

in higher education. The Committee is led by U.S. Representative Tim Walberg, who has stated

that we are ”going to KO the bad actors and the activities and the results that go on in education.”11


    9
     See Islamic Circle of North America (ICNA), Martyrdom in Islam, https://icna.org/
martyrdom-in-Islam/#:~:text=In%20Islam%2C%20the%20concept%20of,civil
%20disobedience%20against%20authoritarian%20rule. It is important to note that martyrdom in
Islam is “not limited to those who die in battle,” but also includes “those who lose life
prematurely by natural causes, accidents, or illnesses, and even mothers who lose their lives
while giving birth.” Id.

          10
               Gibson v. Fla. Legislative Investigation Comm., 372 U.S. 539, 546 (1963) (emphasis
added).
          11
               Id.
                                                      4
         Case 1:25-cv-02079-AS          Document 1        Filed 03/13/25      Page 5 of 36




Another key member and the former Chairwoman, Representative Foxx, has stated that the

Committee’s inquiries could broaden to include the universities’ diversity, equity and inclusion

policies, as well as their “learning environments.”12 Critically, this nation is seeing a new wave of

repression by this Congress and this new Administration that pose a great threat to the First

Amendment, akin to the threat that McCarthyism and the broad overreach of the role of the House

Unamerican Activities Committee (“HUAC”) posed fifty years ago.

    5. The coercive effect of the Committee’s actions is very real. Given the plentitude of

evidence of members of Congress and President Trump actively attempting to strip universities and

others of funding, to roll back contractual obligations,13 and to ban certain media outlets from the

White House because the President does not like what they publish,14 entities like the University

feel pressure to cooperate with the government in its efforts to chill and punish protected speech

and protest activity.

    6. In fact, on March 3, 2025, a U.S. Department of Education press release announced:

“Given Columbia’s ongoing inaction in the face of relentless harassment of Jewish students, the



        12
           See Katherine Knott, ‘You Are in the Crosshairs’: Higher Ed Braces for Another
Antisemitism Hearing, INSIDE HIGHER ED (Apr. 16, 2024),
https://www.insidehighered.com/news/government/
2024/04/16/higher-ed-braces-another-round-congressional-grilling (last visited Mar. 3, 2025).
Investigations into “learning environments” of universities have already occurred at Harvard,
MIT, and Penn. See, e.g., Jordain Carney, House Education Chair Says Campus Antisemitism
Probe Will Continue After Harvard President Resignation, POLITICO (Jan. 3, 2024),
https://www.politico.com/live-updates/2024/01/03/congress/foxx-reacts-to-harvard-ouster-
00133650 (last visited Mar. 3, 2025).
        13
           See Press Release, U.S. Dept. Educ., ED, HHS, and GSA Announce Additional
Measures to End Anti-Semitic Harassment on College Campuses (Mar. 3, 2025),
https://www.ed.gov/about
/news/press-release/ed-hhs-and-gsa-announce-additional-measures-end-anti-semitic-harassment-
college-campuses.
        14
           See James Oliphant, White House Bars AP, Reuters and Other Media from Covering
Trump Cabinet Meeting, REUTERS (Feb. 26, 2025), https://www.reuters.com/world/us/white-
house-bars-ap-reuters-other-media-covering-trump-cabinet-meeting-2025-02-26/.

                                                    5
         Case 1:25-cv-02079-AS           Document 1       Filed 03/13/25      Page 6 of 36




Federal Government’s Task Force to Combat Anti-Semitism is considering Stop Work Orders for

$51.4 million in contracts between Columbia University and the Federal Government. The task

force will also conduct a comprehensive review of the more than $5 billion in federal grant

commitments to Columbia University to ensure the university is in compliance with federal

regulations, including its civil rights responsibilities”.15 Four days later, on March 7, 2025, the

Trump administration stated that it has, in fact, “canceled ~$400M in federal grants to Columbia

over its failure to protect Jewish students from antisemitic harassment.”16

    7. In relation to this Complaint, and as discussed post, at ¶ 54 this Committee has now taken

to using HUAC’s methodologies in its “wide-reaching and intensive investigation”17 to compel

universities around the country to turn over massive quantities of private student, faculty, and staff

records – 400,000 pages of documents as of October 31, 202418 – for the clear purpose of exposing

their identities and suppressing their speech with threats, either from their podium in Congress,

with other federal actors such as the Department of Homeland Security, or by deputizing a mass of

third-party individuals and organizations who gladly take on the role of doxing and harassing the

students until they are too afraid to speak.

    8. Moreover, the Committee’s production demand seeks to compel the University to produce

otherwise confidential documents—which contain information that Congress itself recognized as


        15
           Press Release, U.S. Dep’t Educ., ED, HHS, and GSA Announce Additional Measures to
End Anti-Semitic Harassment on College Campuses (Mar. 3, 2025), https://www.ed.gov/about/
news/press-release/ed-hhs-and-gsa-announce-additional-measures-end-anti-semitic-harassment-
college-campuses.
        16
           The White House (@WhiteHouse), X (Mar. 7, 2025, 3:02 PM), available at
https://x.com/
whitehouse/status/1898101850169393451?s=46. See also Jennifer Peltz, “Trump administration
cancels $400M in grants and contracts with Columbia University,” AP News (Mar. 7, 2025),
available at https://apnews.com/article/columbia-university-protests-antisemitism-palestine-
israel-9c209ce040e4b60d2702b40b9c2fb321.
        17
           See Feb. 13 Letter, ante at 1 n.1.
        18
           Id.

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          Case 1:25-cv-02079-AS           Document 1        Filed 03/13/25       Page 7 of 36




sensitive when it passed the Family Educational Rights and Privacy Act (“FERPA”), 20 U.S.C.S.

§ 1232(g). FERPA prohibits educational institutions, including the Universities, from disclosing

“personally identifiable information in education records” without written consent. 20 U.S.C.S. §

1232(g)(a). The Committee’s past actions have shown that it has no regard for those same privacy

rights, as it readily released a multitude of personally identifiable information in its October 31,

2024, Report.19

     9. Ultimately, the Committee’s Letter demands that the University violate its own contractual

obligations to its students, as well as its obligations to protect student privacy under FERPA, and,

in effect coerces the University to ignore the law by making oblique threats to the “billions in

federal funding” the Universities receive.20

     10. Nonetheless, should the University comply with the Committee’s Letter, the victim of

governmental overreach becomes the enabler and acts as an arm of the government in order to

chill and suppress the speech of its own students, faculty, and staff that is undoubtedly protected

by both the First Amendment and the University’s own Rules of University Conduct.

     11. Among the records requested were “[a]ll disciplinary records,” including “all past

disciplinary charges, proposed sanctions, and enacted sanctions” of individuals “implicated” in

incidents ranging from a “protest of a class taught by former Secretary Hillary Clinton” to general

“[t]hreats and incitement directed at Columbia University trustees.”21 While the Committee’s

request may seem reasonable on its face given that it is confined to a discrete list of enumerated

incidents, in actual fact, it is extraordinarily broad. The Feb. 13 Letter relies on mischaracterizations



         19
           See H. Comm. on Educ. & Workforce, Republican Staff Report, Antisemitism on
 College Campuses Exposed (Oct. 31, 2024), https://edworkforce.house.gov/uploadedfiles/
 10.30.24_committee_on_education_and_the_workforce_republican_staff_report_-
 _antisemitism_on_college_campuses_exposed.pdf [hereinafter “Republican Staff Report”].
        20
           See Feb. 13 Letter, ante at 1 n.1.
        21
           See id., at 5 (emphasis added).
                                                      7
          Case 1:25-cv-02079-AS          Document 1        Filed 03/13/25      Page 8 of 36




and false accusations of antisemitism to cast a wide net. To fully comply with the Committee’s

request, the University would need to turn over entire private files of hundreds of its students,

faculty, and staff.

     12. These records contain, at a minimum, demographic, academic, and financial information,

and at most, personally identifying information,22 student group affiliations and associations, and

related private information that could be and have been used to harass, make threats against, and

dox the individuals whose records are turned over to the Committee, and whose personal privacy

and safety would be jeopardized by the Committee's politically charged investigation.

     13. The Committee’s vague and overbroad demand letter to the University exceeds the

Committee’s purported goal of confronting antisemitism, as the Letter is clearly intended to chill

the First Amendment rights of speech, expression, and association of the University’s student

body through a third-party. In fact, by the Committee’s own acknowledgement in its October 31,

2024, Report, there has already been considerable factfinding conducted, so what other possible

legitimate legislative purpose could they have for demanding hundreds of personal disciplinary

records? And, if the Committee’s alleged purpose is aimed at the University’s actions, or lack

thereof—though this would still be unlawful jawboning—why is it demanding student

disciplinary records instead of higher-level University records that do not identify specific

students and/or their associations?

     14. Based on this Committee’s previous actions in publicizing personal information of those

with similar viewpoints with the clear intent to chill speech, it likely intends to expose students’


         22
           To be clear, and as noted elsewhere in this Complaint, Plaintiffs understand that in
 previous disclosures to Congress, Columbia complied with its legal obligations under FERPA
 when supplying student records to Congress. However, the spirit of FERPA and the ultimate
 privacy protections it was intended to offer were violated by Congress’s release of information
 that made it easy for third parties to identify individual students and then target those students in
 large scale harassment campaigns.
                                                     8
         Case 1:25-cv-02079-AS           Document 1        Filed 03/13/25       Page 9 of 36




identities and associations for the sake of exposure—both of which will undoubtedly cause

irreparable reputational harm, as well as expose the University’s students to reprisals, harassment,

doxxing, and perhaps even physical harm. When the University previously complied with the

Committee’s requests, and as detailed in full, post, at ¶¶ 56-63, student records were leaked to the

press, students’ identities were not properly safeguarded in the Committee’s October 31, 2024,

Report, and members of Congress or their staffers posted students’ private information on social

media sites and identified students and faculty on the public record during congressional hearings

in December 5, 2023, April 17, 2024, and May 3, 2024—all of which led to widespread economic

and reputational harm, as well as increased incidents of doxxing and harassment.

    15. Based on a February 27, 2025, email with Columbia University’s private counsel at

Hecker and Fink, Columbia stands at the ready to turn over the records demanded by the

Committee, even as it states it will do so in compliance with the law. See Exhibit 1.

    16. Critically, students and faculty alike choose to attend Columbia University because of its

“cherished traditions of free expression and open debate,” along with its “long tradition of valuing

dissent and controversy and in welcoming the clash of opinions onto the campus.” See Columbia

University, Rules of University Conduct, Affirmative Statement §440. It has served as a place to

engage in rigorous intellectual inquiry and the “marketplace of ideas” with a diverse student body.

These are the promises—and in fact contractual obligations—that the University makes to every

student it recruits, admits, and matriculates.

    17. During this moment of upheaval and protest, the University, largely due to political

pressures from the Committee and other governmental actors, has subjected its students, faculty

and staff to investigations in an attempt to repress their views critical of Israel, generating

hundreds of disciplinary records. The harm caused by the University’s discriminatory system of



                                                     9
         Case 1:25-cv-02079-AS           Document 1        Filed 03/13/25       Page 10 of 36




discipline is now two-fold: Students, faculty and staff associated with demonstrations critical of

Israel are facing not only constant surveillance and disciplinary interventions by the University,

but also viewpoint-based investigations by the Committee, all of which infringe upon the

students’ First Amendment rights and violate the University’s contractual obligations to its

students.

     18. As detailed post, each of the Plaintiffs has been directly and indirectly harmed by the

University’s previous provision of their student records to the Committee, and based on that

experience, have every reason to believe that further and irreparable harm will occur should the

University turn over more of their private student records. Critically, the Plaintiffs have advanced

in their studies since the first records disclosure and are now at critical junctures in their transition

from higher education into the workforce. This puts them at an even greater risk of reputational

and economic harm should the Committee persist in compelling the student records, and should the

University comply by providing those records.

     19. Therefore, Plaintiffs seek an injunction enjoining Defendants from responding to the

Committee’s request.


                                                 PARTIES

     20. Plaintiff MAHMOUD KHALIL is an individual who resides in New York, New York

 and recently completed his studies at Columbia University, with an anticipated graduation date

 of Spring 2025.

     21. Plaintiff JANE JOE is an individual who resides in New York, New York and is a

 graduate student at Columbia University, with an anticipated graduation date of Spring 2025.




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        Case 1:25-cv-02079-AS         Document 1      Filed 03/13/25     Page 11 of 36




   22. Plaintiff SALLY ROE is an individual who resides in New York, New York and is an

undergraduate student at Columbia University, with an anticipated graduation date of Spring

2025.

   23. Plaintiff NED NOE is an individual who resides in New York, New York and is an

undergraduate student at Columbia University, with an anticipated graduation date of Spring

2025.

   24. Plaintiff LUCY LOE is an individual who resides in New York, New York and is a

undergraduate student at Barnard College, with an anticipated graduation date of Spring 2025.

   25. Plaintiff SAM SOE is an individual who resides in New York, New York and is an

undergraduate student at Columbia University, with an anticipated graduation date of Spring

2028.

   26. Plaintiff WILL MOE is an individual who resides in New York, New York and is an

undergraduate student at Columbia University, with an anticipated graduation date of Spring

2028.

   27. Plaintiff KAM KOE is an individual who resides in New York, New York and is an

undergraduate student at Columbia University.

   28. Defendant TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK

is the legal name of Columbia University in the City of New York (“Columbia University” or

“Columbia”), a private education institution with a campus in upper Manhattan where the actions

alleged in this complaint occurred.

   29. Defendant COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK (“Columbia

University” or “Columbia”) is a private educational institution with a campus in upper

Manhattan where the actions alleged in this complaint occurred.



                                                 11
         Case 1:25-cv-02079-AS          Document 1       Filed 03/13/25    Page 12 of 36




    30. Defendant KATRINA ARMSTRONG is the President of Columbia University and is

sued in her official capacity.

    31. Defendant BARNARD COLLEGE IN THE CITY OF NEW YORK (“Barnard College”

or “Barnard”) is a private educational institution with a campus in upper Manhattan where the

actions alleged in this complaint occurred.

    32. Defendant LAURA ANN ROSENBURY is the President of Barnard College, Columbia

University, and is sued in her official capacity.

    33. Defendant the COMMITTEE ON EDUCATION AND WORKFORCE is a committee of

the U.S. House of Representatives.

    34. Defendant TIM WALBERG is a Republican member of the U.S. House of

Representatives and serves as the Chairperson of the Committee on Education and Workforce,

and is sued in his official capacity.


                                    JURISDICTION AND VENUE

    35. This Court has subject matter jurisdiction because the claims arise under the Constitution

and the laws of the United States, see 28 USC 1331. This Court has personal jurisdiction over

Columbia University and Barnard because they are each located and operating in New York,

New York. F. R. Civ. P. 4(k)(1)(A). Katrina Armstrong and Laura Ann Rosenberg, in their

official capacities, both reside in New York, New York; as such this Court also has personal

jurisdiction over them. Id.

    36. This Court has the authority to enter a declaratory judgment and to provide preliminary

and permanent injunctive relief pursuant to Rules 57 and 65 of the Federal Rules of Civil

Procedure, under Title 28, Sections 2201 and 2202 of the United States Code, and under the All

Writs Act.



                                                    12
         Case 1:25-cv-02079-AS          Document 1        Filed 03/13/25     Page 13 of 36




    37. Venue in this District is proper under 28 U.S.C. § 1391 because it is the judicial district

in which a substantial part of the events or omissions giving rise to plaintiffs’ claims occurred

and where Columbia University is located. Representative Tim Walberg, and the Committee on

Education and Workforce of the House of Representatives are officers of the United States sued

in their official capacity, see 28 U.S.C. § 1391(e)(1).

                                            BACKGROUND

A. The Committee’s hearings and requests for information were a naked attempt to attack
   and harass individuals who expressed viewpoints critical of Israel.

    38. Under the leadership first of Chairwoman Foxx and now of Chairman Walberg, the U.S.

House of Representatives Committee on Education and the Workforce (“the Committee”) has held

several high-profile hearings on antisemitism on college campuses.23 Doing very little to address

the actual problem of antisemitism, most of the Committee’s hearings have devolved into

fearmongering and the public shaming of University students, faculty and staff based on false

accusations, viewpoint discrimination, anti-Palestinian racism, and Islamophobia.

    39. As a result of the Committee’s December 5, 2023, hearing, titled “Holding Campus

Leaders Accountable and Confronting Antisemitism,” then-University of Pennsylvania President

Liz McGill24 and then-Harvard University President Claudine Gay25 were forced to resign. McGill

and Gay stumbled in response to Representative Elise Stefanik’s disturbing line of questioning




        23
          See generally Robin D.G. Kelley, UCLA’S Unholy Alliance, BOSTON REV. (May 18,
2024), https://www.bostonreview.net/articles/uclas-unholy-alliance (last visited Mar. 4, 2025).
        24
          Kanishka Singh, University of Pennsylvania president resigns after antisemitism
testimony, REUTERS (Dec. 10, 2023), https://www.reuters.com/world/us/university-pennsylvania-
president-liz-magill-resigns-after-antisemitism-2023-12-09/.
       25
          Max Matza, Claudine Gay resigns as Harvard University president, BBC NEWS
(January 2, 2024), https://www.bbc.com/news/world-us-canada-67868280.
                                                    13
        Case 1:25-cv-02079-AS          Document 1       Filed 03/13/25      Page 14 of 36




regarding whether calls for the genocide of Jews violated their respective university policies.26

   40. Attempting to avoid a similar fate, then-Columbia University President Minouche Shafik

took a drastically different tone when she was called to appear before the Committee on April 17,

2024. The hearing, titled “Columbia in Crisis: Columbia University’s Response to Antisemitism,”

called into question the university’s handling of student protests criticizing Israeli apartheid and

denouncing the genocide.27 In response, then-President Shafik promised there would be

consequences for speech and demonstrations deemed by the Committee to be antisemitic.28

Examples of antisemitism offered by members of the Committee predominantly related to speech,

such as protest songs and slogans.

   41. U.S. Representative Lisa McClain grilled Shafik, asking her three times whether phrases

like “from the river to the sea, Palestine will be free” or “long live the Intifada” — language

commonly used by supporters of Palestinian liberation to indicate liberation for all, not the

subjugation of some — qualified as antisemitism.29 After Shafik’s first two responses—“when I

hear those terms, I find them very upsetting” and “I hear them as such, some people don’t”—

Representative McClain pressed for a yes or no answer, to which Shafik responded affirmatively




       26
            Noah Bernstein & Esha Karam, The House Committee Tried to Make Shafik Trip Over
Her Own Testimony But It Failed to Fully Corner Her, COLUMBIA SPECTATOR (Apr. 18, 2024),
https://www.columbiaspectator.com/news/2024/04/18/the-house-committee-tried-to-make-
shafik-trip-over-her-own-testimony-but-it-failed-to-fully-corner-her/.
         27
            Plaintiffs use this terminology based on recent opinions issued by the International
Court of Justice. See, e.g., Application of the Convention on the Prevention and Punishment of
the Crime of Genocide in the Gaza Strip (South Africa v. Israel), Provisional Measures, Order of
26 January 2024, para. 54 (finding that the facts provided by South Africa were sufficient to
conclude that intervention was necessary to present a plausible risk of genocide).
    28
       Noah Bernstein, Sarah Huddleston, Shea Vance & Esha Karam, ‘Columbia in Crisis:’
Shafik Testifies Before Congress About Antisemitism at Columbia, COLUMBIA SPECTATOR (April
21, 2024), https://www.columbiaspectator.com/news/2024/04/21/columbia-in-crisis-shafik-
testifies-before-congress-about-antisemitism-at-columbia/.
    29
       Id.


                                                  14
        Case 1:25-cv-02079-AS          Document 1      Filed 03/13/25       Page 15 of 36




that the phrases were antisemitic.30

   42. Representative (now Chairman) Tim Walberg initiated the line of questioning regarding

Professor of Middle Eastern, South Asian, and African studies, Joseph Massad, and the

controversial article he published in the Electronic Intifada. He asked whether Shafik condemned

the article and whether the University had taken any steps to discipline Massad.31 In response,

Shafik disclosed several private details of Professor Massad’s ongoing disciplinary matter,

including that Massad had been removed as chair of the Faculty of Arts and Sciences.32

   43. In the face of persistent questioning by Representative Stefanik, Shafik promised to take

Massad out of the classroom and dismiss him from his position as a visiting professor.33

   44. Concerningly, on April 17, 2024, the same day as the congressional hearing, a nonprofit

news organization posted “[a] confidential letter obtained by the Forward [which] shows that

investigations have been opened over the conduct of several Columbia University professors

accused of making antisemitic and anti-Israel comments in the aftermath of Hamas’ Oct 7

attacks.”34 The article confirms that the letter was included in the materials Columbia provided to

Congress.35 In a comment to Inside Higher Ed, Professor Massad stated “he wasn’t aware of the

investigation” and learned about from the public congressional hearing.36

   45. As the Supreme Court recognized in McGrain v. Daugherty, “neither house [of Congress]


   30
       Id.
   31
       Id.
    32
       Id.
    33
       Id.
    34
       Jacob Kornbluh, “Confidential letter shows Columbia professor who called Hamas attack
‘awesome’ is under investigation,” The Forward (Apr. 17, 2024), available at
https://forward.com/fast-forward/603775/columbia-president-professor-hamas-israel-congress/.
    35
       Id.
    36
       See Ryan Quinn, “Columbia President Accused of Dishonest Testimony, Throwing
Professors ‘Under the Bus’,” Inside Higher Ed (Apr. 19, 2024), available at
https://www.insidehighered.com/news/faculty-issues/academic-freedom/2024/04/19/
columbia-president-accused-throwing-profs-under-bus.

                                                  15
        Case 1:25-cv-02079-AS            Document 1     Filed 03/13/25      Page 16 of 36




is invested with ‘general’ power to inquire into private affairs and compel disclosures.” 273 U.S.

135, 174 (1927). The investigative power is “an essential and appropriate auxiliary” to its

legislative function. Id.

    46. Therefore, the Committee is prohibited from conducting investigations “solely for the

personal aggrandizement of the investigators or to punish those investigated.” Trump v. Mazars

USA, LLP, 591 U.S. ___, 140 S. Ct. 2019, 2031–2032 (2020) (internal citations omitted). It has

no power to “try” anyone for alleged wrongdoings. Id. Policing and enforcement powers are

reserved for the executive and the judiciary. The subjects of legislative subpoenas “retain common

law and constitutional privileges,” throughout the course of the investigation. Id. at 2032.

    47. The scapegoating of Massad and the disclosure of his private records during a public

hearing is indicative of the Committee’s strategy with regards to its inquiries into antisemitism.

The Committee trampled over Massad’s rights to privacy and confidentiality for the political

spectacle of forcing then-President Shafik to publicly testify as to her handling of his

employment—an extremely sensitive topic. The Committee essentially “tried” and “punished”

Massad for the alleged wrongdoing of antisemitism, without any good faith inquiry into context,

intent, or rationale as to Massad’s statements or scholarship. The Committee publicly forced the

issue of Massad’s employment.

    48. Furthermore, the Committee sent a threatening message regarding what could happen to

individuals if it determines engage in protected speech that it finds distasteful or express

viewpoints with which it disagrees with the intent to suppress such speech.

    49. In her haste to persuade the Committee that she was committed to taking serious action to

combat antisemitism, former President Shafik also showed a complete disregard for Massad’s

rights to privacy and confidentiality.

    50. Shafik made further commitments to curtail student speech and demonstrations by

imposing heavy consequences for alleged antisemitic activity. The hearing was a race to punish
                                                  16
        Case 1:25-cv-02079-AS          Document 1         Filed 03/13/25     Page 17 of 36




and to humiliate Columbia’s own faculty members and student body—the very faculty members

and students the University chose to hire and admit because of their identities, perspectives, and

political stances.

B. Columbia University’s decision to invite the New York Police Department (“NYPD”) to
   clear the first Gaza Solidarity Encampment was prompted by the Congressional
   Hearing on April 17, 2024.

    51. As then-President Shafik testified before the Committee, students began pitching tents on

the University’s South Lawn in an action that has since become known as the “first Gaza Solidarity

Encampment.” Students rejected Shafik’s painting of the campus movement opposing Israel’s war

crimes and decrying the loss of Palestinian lives as antisemitic and expressed their frustration with

Shafik’s willingness to agree to punish them in an effort to appease the Committee.

    52. In line with her representations to the Committee that she would crack down on campus

demonstrations, on April 18, 2024, Shafik took the extraordinary step of summoning the New

York Police Department (“NYPD”) to clear the encampment and arrest 108 individuals on or near

the University’s South Lawn. Shafik’s decision to call the NYPD is widely believed to have been

politically driven by the commitments she made to the Committee during the hearing, which took

place one day before the April 18th mass arrest.37

C. The Committee’s investigation into the disciplinary processes of Columbia University
   has involved several government probes into private records.

    53. The Committee’s February 13, 2025, Letter is not the first of such inquiries into the

disciplinary processes of Columbia University and should not be viewed in isolation. The

Committee sent a similar letter dated February 12, 2024, which requested a broad swath of

University’s records, citing “grave concerns” over Columbia University’s “response to




        37
          Brian Mann, NYPD Breaks Up Pro-Palestinian Protest at Columbia University, NPR
(Apr. 18, 2024), https://www.npr.org/2024/04/18/1245642588/nypd-breaks-up-pro-palestinian-
protest-at-columbia-university.
                                                     17
       Case 1:25-cv-02079-AS          Document 1        Filed 03/13/25      Page 18 of 36




antisemitism on its campus and its failure to protect Jewish students.”38 The request for

information contained in the February 12, 2024, Letter was even broader than the Committee’s

more recent request. A brief sample of the types of records requested include:

            ● All documents and communications since January 1, 2021, referring and relating

               to antisemitism, involving the Office of the President, Office of the Provost, and/or

               University Senate;

            ● All Columbia Board of Trustees meeting minutes and/or summaries whether

               formal or informal, since January 1, 2021, including minutes of meetings of any

               components, such as committees, subcommittees, and/or task forces;

            ● All documents and communications since January 1, 2021, referring and relating

               to antisemitism, involving the Columbia Board of Trustees (including all

               members);

            ● Any meeting minutes, circulated materials, and/or readouts from Columbia’s Task

               Force on Antisemitism, and documents sufficient to show any findings and

               recommendations by the Task Force and any responses and reactions to such

               findings and recommendations by the Task Force and any responses and reaction

               to such findings and recommendations by the President, Provost, deans of

               Columbia’s various schools, and the staffs of the aforementioned university

               officials[.]39

   54. The February 12, 2024, Letter made twenty-five requests in total, many of which were



       38
          See Letter from H. Comm. on Educ. & Workforce to Dr. Minouche Shafik, Columbia
Univ. President, Ms. Claire Shipman & Mr. David Greenwald, Co-Chairs of Trs. Columbia
Univ. (Feb. 12, 2024), https://edworkforce.house.gov/uploadedfiles/2-12-
24_foxx_letter_to_columbia_
university.pdf.
   39
      See id. at 13.
                                                  18
           Case 1:25-cv-02079-AS         Document 1      Filed 03/13/25     Page 19 of 36




broken down further into related sub-requests.

      55. On July 9, 2024, the Committee sent an electronic message to the University expressing

concern over the “unsatisfactory and limited nature of Columbia’s production, including

Columbia’s ongoing failure to produce documents from long-requested custodians.”40

      56. The Committee followed up on its July 9, 2024, electronic message with another letter,

sent on August 1, 2024, again discussing Columbia’s failure to “produce priority items requested

by the Committee.”41 At issue in the August 1, 2024, letter were “text messages, electronic

messages, and emails from non-Columbia University systems from a set of eight administrators

and a set of an estimated ten members of Columbia’s Board of Trustees; notes, summaries, and

recordings of Board of Trustees meetings since April 17; and updated and more detailed

information on disciplinary actions relating to the encampment.”42

D. The Committee’s requests for disciplinary records are a blatant attempt to expose for
   exposure’s sake individuals whose viewpoints it seeks to chill.

      57. On October 31, 2024, the House Committee on Education and the Workforce produced a

325-page report (“Report”) titled “Antisemitism on College Campuses Exposed.”43 The Report

detailed the Committee’s findings from its almost year-long, “wide-reaching and intensive

investigation” into what it describes as an “explosion of campus antisemitism.”44

      58. The Committee itself recognized that its investigation was “unprecedented in its depth



      40
       E-mail from H. Comm. on Educ. & Workforce to Counsel for Columbia Univ. (Jul. 9,
2024) (on file with Committee).
41
   See Letter from H. Comm. Educ. & Workforce to Dr. Minouche Shafik, Columbia Univ.
President, Mr. David Greenwald & Claire Shipman, Trs. Columbia Univ. (Aug. 1, 2024),
https://edworkforce.house.gov/uploadedfiles/8-1-24_foxx_letter_to_columbia.pdf.
        42
           See id. at 2.
43
     See Republican Staff Report, ante, at n.12.
44
     See id. at 1.


                                                   19
           Case 1:25-cv-02079-AS        Document 1        Filed 03/13/25      Page 20 of 36




and scope.”45 For the first time in its 157-year history, the Committee issued subpoenas to

institutions of higher education, collecting “more than 400,000 pages of documents.”46

E. The potential harm of the Committee’s repeated requests for sensitive, private records
   is not speculative; prior requests and disclosures provide a roadmap for harms to come.

      59. The Committee devotes a significant amount of the Report’s contents on Columbia

University and Barnard College’s disciplinary records obtained through six subpoenas issued to

the Columbia University administration on August 21, 2024.47 The Report contained and often

misrepresented information including specific descriptions of student events, organizations, and

social media posts.

      60. The Report generated significant controversy and media coverage, characterizing the

protests in a negative light and condemning students as antisemitic.48

      61. Columbia and Barnard DEFENDANTS admit they did not consent to the publication of

the Report.49


45
     Id. at 1.
46
     Id.
47
   See H. Comm. on Educ. & Workforce, Subpoenas to Columbia Univ. (Aug. 21, 2024),
https://edworkforce.house.gov/uploadedfiles/8.21.24_education_and_the_workforce_committee_
six_subpoenas_to_columbia_university_leadership.pdf.
48
   See, e.g., Andrew Bernard, ’Astounding’ Government Failures, House GOP Report on Jew-
Hatred Says (Dec. 19, 2024), JNS, https://www.jns.org/astounding-government-failures-house-
gop-report-on-jew-hatred-says/ (asserting that the Republican Staff Report demonstrates that
”universities across the country likely violated in the civil rights of Jews in their handling of anti-
Israel campus protests”); Alan Wooten, Universities Scorched in Republican Congressional
Report, THE CENTER SQUARE (Nov. 4, 2024) (summarizing the Republican Staff Report as
finding that ”[c]oncessions were made for illegal encampments, support was withheld from
Jewish students, discipline was absent for those engaged in antisemitic conduct, and
congressional oversight was rejected as a nuisance with hostility”).
49
   See Shea Vance, Columbia ‘Did Not Consent’ to Publication of Confidential Documents in
Congressional Report, Spokesperson Says, COLUMBIA SPECTATOR (November 3, 2024),
https://www.columbiaspectator.com/news/2024/11/03/columbia-did-not-consent-to-publication-

                                                    20
           Case 1:25-cv-02079-AS       Document 1        Filed 03/13/25      Page 21 of 36




      62. PLAINTIFFS were among the many identified through the publication of the Report.

Despite redacting student names, Columbia’s disclosure included “information such as

organization and school affiliations in addition to detailed descriptions of social media posts,

copies of emails, and narratives of the alleged incidents.”50 This information facilitated the

identification of disciplined students, demonstrating the failure of any redactions to sufficiently

protect student privacy.

      63. PLAINTIFFS can correlate being personally threatened and having their safety

endangered by the disclosure of their sensitive educational records to the House Committee on

Education and Workforce (“the Committee”).

      64. PLAINTIFFS and similarly situated parties have experienced increased reported doxxing,

harassment, online targeting, and hostilities on campus correlated with the release of student

disciplinary records. This includes but is not limited to hate speech, misogynistic slurs, racially

derogatory comments, and character attacks. In addition to the associated mental and emotional

health concerns stemming from these hostilities, Plaintiffs and similarly situated parties suffered

loss of career and academic opportunities for false attacks on their character.

      65. University DEFENDANTS did not notify students of their released records or provide

any support for navigating the publication of their sensitive disciplinary records. Despite having

a policy against doxxing, DEFENDANTS did not take adequate measures to support affected

students.

      66. This disclosure was widely viewed to violate both Columbia’s community norms and


of-confidential-documents-in-congressional-report-spokesperson-says/ (reporting a comment
from University spokesperson Samantha Slater that Columbia intended materials submitted as
part of the University‘s response to the August 21, 2024 subpoenas would “be treated as
confidential and not disclosed outside of the Committee and its staff“) (last visited Mar. 3, 2025).
50
     Id.
                                                   21
       Case 1:25-cv-02079-AS          Document 1        Filed 03/13/25      Page 22 of 36




self-governance. An article in the Columbia Spectator highlights the stakeholder opposition to

this release: “In their Nov 19 statement, members of the University Senate Student Affairs

Committee wrote that, ‘[i]f confirmed, we believe these actions would betray the students’ right

to privacy and confidentiality’ and that ‘these actions would jeopardize the integrity and fairness

of disciplinary processes.’”51 Faculty expressed concern about the identifying information

provided in the Report as well: “At the Nov. 22 senate plenary, Joseph Howley, Associate

Professor of Classics, asked Interim University President Katrina Armstrong about legal risk

surrounding potential Family Educational Rights and Privacy Act violations on behalf of

students.52 Howley observed that “some of these reports identify alleged perpetrators in very

identifiable ways, and the House has now published student identifying information.”53

   67. PLAINTIFFS and similarly situated parties continue to face doxxing for their alleged

participation in campus activism.54

   68. On October 31, 2024, the United States House of Representatives Staff Report on Anti-

Semitism (“Staff Report”) was released. The Staff Report specifically singled out Columbia

University, contributing to national focus and reporting on Columbia University protests and



       51
          Shea Vance, Columbia ‘Did Not Consent’ to Publication of Confidential Documents in
Congressional Report, Spokesperson Says, COLUMBIA SPECTATOR (November 3, 2024),
https://www.columbiaspectator.com/news/2024/11/03/columbia-did-not-consent-to-publication-
of-confidential-documents-in-congressional-report-spokesperson-says/ (last visited Mar. 3,
2025).
       52
           See Sarah Huddleston, Columbia’s Production of Disciplinary Cases in Congressional
Subpoena Raises Privacy Concerns, COLUMBIA SPECTATOR (Dec. 3, 2024),
https://www.columbiaspectator.com/news/2024/12/03/columbias-production-of-disciplinary-
cases-in-congressional-subpoena-raises-privacy-concerns/.
        53
           Id.
        54
           Joseph Zuloaga, Conservative Media Group Behind ‘Doxxing Truck’ Returns to
Columbia, Launches New Website, COLUMBIA SPECTATOR (Jan. 31, 2024),
https://www.columbiaspectator.com/news/2024/01/31/conservative-media-group-behind-
doxxing-truck-returns-to-columbia-launches-new-website/.
                                                  22
        Case 1:25-cv-02079-AS          Document 1        Filed 03/13/25      Page 23 of 36




conflating student activism with anti-Semitism.55

   69. PLAINTIFFS and similarly situated parties face online harassment targeting their

immigration status and attempting to report Plaintiffs to Immigration and Customs Enforcement

(“ICE”)56.

   70. University DEFENDANTS acknowledge doxxing is a pervasive issue for pro-Palestine

protestors.

   71. University DEFENDANTS failed to maintain their own doxxing policies, leading to the

harassment of a student Senator.57

   72. University DEFENDANTS recognize the harm to students facing the disclosure of their

disciplinary records.




       55
            U.S. H.R. Staff Rep. on Antisemitism 5 (Dec. 18, 2024), https://www.speaker.gov/wp-
content/uploads/2024/12/House-Antisemitism-Report.pdf.
         56
            Natasha Lennard & Akela Lacy, The Columbia Network Pushing Behind the Scenes to
Deport and Arrest Student Protesters, THE INTERCEPT (Feb. 15, 2025),
https://theintercept.com/2025/02/15/columbia-alumni-israel-whatsapp-deport-gaza-protesters/
(last visited Mar. 3, 2025); Trump’s Order on Antisemitism Threatening to Deport Non-Citizen
Campus Activists Divides Jewish Groups, JEWISH TELEGRAPHIC AGENCY (Jan. 30, 2025),
https://www.jta.org/2025/01/30/politics/trumps-order-on-antisemitism-suggests-deporting-non-
citizen-campus-activists-dividing-jewish-groups (last visited Mar. 3, 2025). See also David
Pozen & Joshua Mitts, In Defense of Our Shared Values, COLUMBIA SPECTATOR (Feb. 13, 2025)
(“This weaponization of deportation is the latest in a series of increasingly virulent online attacks
on Columbia students. Although many of these attacks claim to be combating antisemitism,
others have targeted Jewish and Israeli students.”).
         57
            See Molly Bordoff, ‘A Chilling Effect’: University Senate Discusses Nonconsensual
Recordings at Plenary, COLUMBIA SPECTATOR (Dec. 23, 2024),
https://www.columbiaspectator.com/news/2024/12/23/a-chilling-effect-university-senate-
discusses-non-consensual-recordings-at-plenary/ (last visited Mar. 3, 2025); Information
Security Charter, University Policies, https://universitypolicies.columbia.edu/content/
information-security-charter (Oct. 2023); Acceptable Usage of Information Resources Policy,
University Policies, https://universitypolicies.columbia.edu/content/acceptable-usage-
information-resources-policy (Oct. 2023).
                                                    23
        Case 1:25-cv-02079-AS          Document 1        Filed 03/13/25      Page 24 of 36




                                               CLAIM I

              (The Committee’s record request violates the First Amendment.)

   73. Plaintiffs restate the foregoing paragraphs as is set forth fully herein.

   74. Stated plainly, “[c]oercion of a third party can be the means by which the government

violates the First Amendment rights of another.” National Rifle Association v. Vullo, 602 U.S.

175, 200 (2024) (Brown Jackson, J., concurring). Indeed, “the critical takeaway” from Vullo “is

that the First Amendment prohibits government officials from wielding their power selectively to

punish or suppress speech, directly or (as alleged here) through private intermediaries.” Vullo,

602 U.S. at 198.

   75. The Court has long recognized that the First Amendment guarantees the “right to

associate with others in pursuit of a wide variety of political, social, economic, educational,

religious, and cultural ends.” Roberts v. U.S. Jaycees, 467 U.S. 609, 622 (1984). See also

Americans for Prosperity Foundation (APF) v. Bonta, 594 U.S. 595, 606 (2021). Indeed,

“privacy in group association” is “indispensable to preservation of freedom of association,

particularly where a group espouses dissident beliefs.” NAACP v. Alabama ex rel. Patterson, 357

U.S. 449, 462 (1958).

   76. In APF, the U.S. Supreme Court issued the reminder that “’[i]t is hardly a novel

perception that compelled disclosure of affiliation with groups engaged in advocacy may

constitute as effective a restraint on freedom of association as [other] forms of governmental

action.’” 594 U.S. at 606, quoting NAACP, 357 U.S. at 462.

   77. As the AFP Court cautioned: “the government may regulate in the [First Amendment]

area only with narrow specificity, and compelled disclosure regimes are no exception[,] [thus]

[w]hen it comes to a person’s beliefs and associations broad and sweeping state inquiries into

these protected areas ... discourage citizens from exercising rights protected by the Constitution.”

                                                   24
        Case 1:25-cv-02079-AS          Document 1        Filed 03/13/25      Page 25 of 36




Id., at 610 (cleaned up).

    78. Therefore, “[w]hen it comes to the freedom of association, the protections of the First

Amendment are triggered not only by actual restrictions on an individual's ability to join with

others to further shared goals. The risk of a chilling effect on association is enough, ‘[b]ecause

First Amendment freedoms need breathing space to survive.’” APF, 594 U.S. at 618-19 (quoting

NAACP v. Button, 371 U.S. 415, 433 (1963)) (emphasis added).

    79. The First Amendment proscribes the Government not only from directly infringing upon

those rights but also from infringing upon them indirectly through the use of techniques like

jawboning. See Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 67 (1963). “Such a strategy allows

government officials to ‘expand their regulatory jurisdiction to suppress the speech of

organizations that they have no direct control over.’” Vullo, 602 U.S. at 197-98. See also id., at

180 (a government entity’s threat of invoking legal sanctions and other means of coercion’

against a third party ‘to achieve the suppression of disfavored speech violates the First

Amendment.”) (cleaned up).

    80. The Court further reasoned, and of particular relevance in this case, jawboning “allows

government officials to be more effective in their speech-suppression efforts ‘[b]ecause

intermediaries will often be less invested in the speaker’s message and thus less likely to risk the

regulator’s ire.” Id., at 198.

    81. Certainly, a member of Congress “can share her views freely and criticize particular

beliefs, and she can do so forcefully in the hopes of persuading others to follow her lead[,]” but

she may not “use the power of the State to punish or suppress disfavored expression.” See Vullo,

602 U.S. at 188.

    82. The Vullo Court recently explained: “To state a claim that the government violated the



                                                   25
        Case 1:25-cv-02079-AS          Document 1       Filed 03/13/25      Page 26 of 36




First Amendment through coercion of a third party, a plaintiff must plausibly allege conduct that,

viewed in context, could be reasonably understood to convey a threat of adverse government

action in order to punish or suppress the plaintiff ’s speech.” Id. at 191. Such is the case here.

   83. As outlined ante, at ¶¶ 35-47, the Committee has repeatedly pressured the University to

suppress and punish student, faculty, and staff pro-Palestine speech that the Committee itself

disfavors and has issued threats of withholding or withdrawing “billions in federal funding” to

the University to compel its compliance. See Feb. 13 Letter, at 1.

   84. Furthermore, as evidenced by the results of the three congressional hearings held before

the Committee in the spring of 2024, as described ante, at ¶¶ 35-53, the frankly absurd line of

questioning in combination with the threats made against university presidents and trustees, that

in fact, led to two university presidents’ resignations,58 the firing and/or suspending of numerous

faculty members, see ¶¶ 39, 40, 4359, and the pervasive and severe doxing and harassment of

numerous administrators, faculty, staff, and students at these institutions by members of


       58
          Following the Committee’s public attacks on former Harvard University President
Claudine Gay, Dr. Gay, like many other students and faculty members, “faced death threats and
was called the N-word during a weeks-long attack on her character designed to end her
presidency.” Matt Egan, “Harvard’s Claudine Gay says she faced death threats and was called
the N-word as critics pushed ‘tired racial stereotypes’,” CNN (Jan. 3, 2024), available at
https://www.cnn.com/
2024/01/03/business/harvard-claudine-gay-new-york-times-op-ed/index.html. Indeed, also akin
to the experiences of Plaintiffs and numerous students and faculty members, an ABCNews article
discusses a broad campaign to dox and harass Dr. Gay in order to force either her resignation or
her dismissal. See Kiara Alfonseca, “The forces behind Harvard President Claudine Gay's
resignation,” ABC News (Jan. 5, 2024), available at https://abcnews.go.com/US/forces-harvard-
president-claudine-gays-resignation/story?id=106071191.
       59
          Notably, the three professors named by this Committee are no longer employed by
Columbia, whether by firing, failure to renew their contract, or a resignation by agreement. See
also, Ryan Quinn, “Columbia President Accused of Dishonest Testimony, Throwing Professors
‘Under the Bus’,” Inside Higher Ed (Apr. 19, 2024), available at:
https://www.insidehighered.com/
news/faculty-issues/academic-freedom/2024/04/19/columbia-president-accused-throwing-profs-
under-bus.
                                                   26
        Case 1:25-cv-02079-AS           Document 1        Filed 03/13/25       Page 27 of 36




Congress, their staff, and third-party individuals and entities. The outcome of these hearings,

and of the October 31 Report, make evident that this Committee’s threats have real, life-altering

consequences for both the universities and members of their communities, and particularly for

these four Plaintiffs.

    85. Thus, even just the veiled threats of funding cuts or stoppages, whether or not the

Committee intends to or indeed can follow through, creates such fear in these universities that

they apparently feel compelled to comply with whatever the Committee demands in order to

insulate their own survival as institutions.

    86. The Committee’s Letter requests what would amount to hundreds of pages of disciplinary

records for likely hundreds of students, which infringe upon the Plaintiffs’, and all students’

privacy of association that is “indispensable” to their freedom of association, without a clear

nexus as to how these records aid any legitimate legislative purpose.

    87. The language of the Committee’s February 13, 2025, Letter explicitly demonstrates its

viewpoint discrimination toward any speech or expression that opposes Israel’s actions against

Palestinian people, and it reveals their political intent to target this political speech and

association.60 See ante, at ¶¶ 54-55.

    88. When viewing the totality of these circumstances, it can “be reasonably understood” the

Committee’s Letter and continued focus on the University, and by proxy these Plaintiffs, is

intended “to convey a threat of adverse government action in order to punish or suppress the

plaintiff ’s speech,” NRA, 602 U.S. at 191, based on the viewpoints of that speech.


        60
          Notably, the Committee’s violation of the First Amendment is not saved by the
possibility that some of the conduct or speech included in the listed incidents falls within their
purview under Title VI. The Bantam Books Court clearly held that the government body in that
case “violated the First Amendment by invoking legal sanctions to suppress disfavored
publications, some of which may or may not contain protected speech (i.e., nonobscene
material).” Vullo, 602 U.S. at 196 (emphasis added), citing Bantam Books, 372 U.S. at 67.
                                                    27
        Case 1:25-cv-02079-AS          Document 1        Filed 03/13/25      Page 28 of 36




   89. Furthermore, the Committee are not immune from these allegations under the Speech and

Debate Clause, which has the express “purpose [] ‘to protect the individual legislator, not simply

for his own sake, but to preserve the independence and thereby the integrity of the legislative

process.” Republican National Committee v. Pelosi, 602 F.Supp.3d 1, 17 (D.D.C. 2022)

(emphasis added), vacated on mootness grounds by Republican National Committee v. Pelosi,

No. 22-5123, 2022 WL 4349778 (D.C. Cir. September 16, 2022) (quoting United States v.

Brewster, 408 U.S. 501, 524 (1972)).

   90. The overly broad Letter from February 13, 2025, compelling the University to produce

thousands of pages of private student disciplinary records does not substantially relate to any

compelling interest. On its face, the Committee on Education and Workforce does have the

ability to investigate issues relating to Title VI, including antisemitism which clearly falls under

its purview. However, this Letter, and the previous subpoena compelling the production of

private student records, along with this Committee’s subsequent actions, including but not

limited to the Republican Staff Report released on October 31, 2024, and the doxing of students

and faculty on social media platforms, demonstrates its lack of concern with actual incidents of

antisemitism and its intent to “expose for the sake of exposure” based solely on the viewpoints

held by those individuals.

   91. As the U.S. Supreme Court held in Gibson, “it is an essential prerequisite to the validity

of an investigation which intrudes into the area of constitutionally protected rights of speech,

press, association and petition that the State convincingly show a substantial relation between the

information sought and a subject of overriding and compelling state interest.” The disclosure of

the private records of students engaged in protests for Palestinian liberation is neither

substantially related to nor does it serve the compelling interest of addressing antisemitism.



                                                   28
        Case 1:25-cv-02079-AS          Document 1        Filed 03/13/25      Page 29 of 36




   92. As the Supreme Court in Gibson recognized, “[t]o permit legislative inquiry to proceed

on less than an adequate foundation would be to sanction unjustified and unwarranted intrusions

into the very heart of the constitutional privilege to be secure in associations in legitimate

organizations engaged in the exercise of First…Amendment rights.”61

   93. As the U.S. Supreme Court held in Watkins v. United States, 354 U.S. 178 (1957),

“[t]here is no general authority to expose the private affairs of individuals without justification in

terms of the functions of the Congress.” Id. at 200.

   94. Moreover, there can be no legitimate legislative purpose when the Committee is engaging

in prohibited conduct, which is to improperly suppress protected speech because of the

viewpoints expressed through a third-party actor. As stated in National Rifle Association v.

Vullo, “[a]t the heart of the First Amendment’s Free Speech Clause is the recognition that

viewpoint discrimination is uniquely harmful to a free and democratic society.” 602 U.S. 175,

187 (2024).

   95. Because the Committee’s February 13, 2025, Letter is predicated on clear viewpoint

discrimination, endeavors to deploy unlawful jawbone tactics to suppress protected speech based

on that viewpoint through a third-party actor, and can be reasonably seen as a clear intent to chill

associational and speech rights, the Committee’s Letter serves no legitimate purpose and violates

the First Amendment.

                                               CLAIM II

            The University’s compliance with the Committee’s record request is violative
                                     of the First Amendment.

   96. Plaintiffs restate the foregoing paragraphs as is set forth fully herein.

   97. As a third party whose interests are served by cooperating with the Committee’s


       61
            Gibson, 372 U.S. at 558.
                                                   29
        Case 1:25-cv-02079-AS           Document 1        Filed 03/13/25      Page 30 of 36




scapegoating, Columbia University can be sued by the students, faculty and staff threatened with

the release of their sensitive, private information. Trump v. Deutsche Bank AG, 943 F.3d 627, 635

(2d Cir. 2019) (holding “[n]o dispute that Plaintiffs had standing . . . to challenge the lawfulness

of the Committees’ subpoenas by seeking injunctive relief . . . .”).

   98. Here, the Committee Letter's potential to infringe on the Plaintiff’s political association

rights. Though the Committee has not yet issued a legally compelling subpoena, the action

against the University is timely because (1) the University was compelled to produce previous

disclosures, (2) the University appears poised to comply with the Letter without a subpoena, the

email referenced in ¶ 15, see Exhibit 1, and (3) members of the University’s leadership have

made “private promises” to “Members of Congress” that indicate the ongoing sharing of

information between the two bodies. See Feb. 13 Letter, at 1.

   99. As noted ante, at ¶¶ 76-79, jawboning is an effective if unlawful mechanism for the

Committee to deploy in chilling “disfavored” student speech “because intermediaries,” such as

Columbia and Barnard, are “less invested in the speaker’s message and thus less likely to risk the

regulator’s ire[,]” Vullo, 602 U.S. at 197-98 (cleaned up), and indeed, that has borne itself out

over the past year.

   100.        Indeed, through the cooperation of Columbia and Barnard, this Committee has

effectively created a “system of informal censorship” as it provides “no safeguards whatever

against the suppression of . . . constitutionally protected[] matter[,] [and instead] is a form of

regulation that creates hazards to protected freedoms[.]” Bantam Books, Inc. v. Sullivan, 372

U.S. 58, 70 (1963).

   101.        As outlined ante, the Committee is engaging in this “system of informal

censorship” in its Feb. 13 Letter, and Columbia and Barnard, by cooperating with, and indeed

participating in the Committee’s gross infringement on Plaintiffs' First Amendment rights, are

                                                    30
        Case 1:25-cv-02079-AS           Document 1        Filed 03/13/25       Page 31 of 36




aiding and abetting those violations when they provide the Committee with private student

records.

   102.        Columbia and Barnard, by cooperating with the Committee, are in effect

becoming the tool and instrumentality used by a government actor—thereby becoming a

government actor itself. For this reason, Plaintiffs have a unique right to protect their First

Amendment rights from a private actor who colludes with a state actor to infringe upon their

speech and association rights.62

   103.        The Committee, Columbia, and Barnard are engaging in and threatening two

egregious violations of Plaintiffs’ First Amendment rights by retaliating against Plaintiff’s based

on their viewpoint and their associations, and in the case of these Plaintiffs, their identities.

   104.        Columbia and Barnard, acting at the behest of the Committee, are punishing and

suppressing the “disfavored expression” of Plaintiffs, and others on its campus, in order to chill

their expression of viewpoints, which violates the First Amendment. See NRA, 602 U.S. at 188.

   105.        By allowing itself to be used as the Committee’s cudgel, and to serve as the

“jawbone” in the Committee’s concerted and effective efforts to chill Plaintiffs’ rights to free

speech and association, the University’s actions are in contravention to the First Amendment.

                                           CLAIM III
      (The University’s compliance with the Committee’s Letter constitutes a breach of
                                            contract.)
   106.     Plaintiffs restate the foregoing paragraphs as is set forth fully herein.

   107.        Columbia made specific promises and assertions to all Plaintiffs regarding

diversity, freedom of speech, academic freedom, and good faith and fair dealing, in its contracts,


       62
            See Trump v. Deutsche Bank AG, 943 F.3d 627, 635 (2d Cir. 2019) (finding that when
Congress subpoenas information from a third party with no interest in the information sufficient
to resist the subpoena, the law allows the person whose information is threatened to pursue an
injunction or declaratory judgement aimed at blocking the subpoena’s issuance, service on, or
enforcement against the third party).
                                                    31
       Case 1:25-cv-02079-AS          Document 1          Filed 03/13/25   Page 32 of 36




student and faculty manuals, on its websites, and in pronouncements and assertions in writing by

officers and others authorized to speak for Columbia.63

   108.        Columbia University Rules of Conduct contains Section §440. Affirmative

Statement, which states:

            To be true to these principles, the University cannot and will not rule
            any subject or form of expression out of order on the ground that it is
            objectionable, offensive, immoral, or untrue. Viewpoints will inevitably
            conflict, and members of the University community will disagree with
            and may even take offense at both the opinions expressed by others and
            the manner in which they are expressed. But the role of the University
            is not to shield individuals from positions that they find unwelcome.
            Rather, the University is a place for received wisdom and firmly held
            views to be tested, and tested again, so that members of the University
            community can listen, challenge each other, and be challenged in
            return.”64

   109.        The University Provost reiterated this promise after October 7,

2023, writing on October 11, 2023, that “[a]t this challenging time, when so many

in our community are affected deeply by global events, I write to remind everyone

that freedom of expression is a core University value and it is our collective




       63
           See, e.g., Columbia University, Rules of University Conduct §440 (“The Rules of
University Conduct, found in Chapter XLIV of the Statutes of Columbia University, are intended
to ensure that all members of our community may engage in our cherished traditions of free
expression and open debate.”); Columbia University, Notice of Nondiscrimination,
https://universitypolicies.columbia.edu/content/notice-nondiscrimination (“Nothing in University
Policy and OIE Policies & Procedures shall be construed to abridge academic freedom and
inquiry, principles of free speech, or the University’s educational mission.”) (last updated Sept.
6, 2024). See also Columbia University, Approach to Rules and Policies, University Life,
https://universitylife.columbia.edu/content/approach-rules-and-policies (“‘Rules’ at the
University has a specific meaning and importance. The Rules of University Conduct were
created to ensure protection of free speech and oversee demonstrations and protests at
Columbia.”) (last visited Feb. 24, 2024).
64
   Columbia University, Rules of University Conduct, https://senate.columbia.edu/sites/default/
files/content/Committee_Rules%20of%20University%20Conduct/Rules%20of%20University%2
0Conduct.pdf (Sept. 29, 2019).
                                                  32
        Case 1:25-cv-02079-AS          Document 1        Filed 03/13/25      Page 33 of 36




responsibility to uphold the principles of civic debate and discourse.”65

   110.        These statements constitute material and specific commitments made by

Columbia to its faculty members and students that are enforceable by law.66

   111.        Plaintiffs relied on these promises as students by paying tuition to Columbia and

Graduate students by entering employment agreements with Columbia.

   112.        By cooperating with and disclosing information about them to the Committee,

Columbia and Barnard are intentionally exposing Plaintiffs to public threats, hate speech and

physical danger as an act of retaliation and of viewpoint discrimination against them for their

First Amendment-protected criticism of Israel and their pro-Palestinian expression, or simply

their good faith efforts to facilitate thoughtful inquiry into various viewpoints on Palestine.

   113.        Columbia and Barnard must carry out the duties they assumed towards Plaintiffs

by these binding terms and conditions of its contracts, manuals and materials, and under its

obligation of good faith and fair dealing towards them.67

   114.        Columbia and Barnard have failed to maintain their own doxxing and privacy


       65
         See Columbia University, Office of the Provost, Ensuring Safety and Free Expression
on Campus (Oct. 11, 2023), https://provost.columbia.edu/news/ensuring-safety-and-free-
expression-our-campus (last visited Mar. 3, 2025).
       66
           See Papelino v. Albany College of Pharmacy of Union University, 633 F.3d 81 (2d Cir.
2011) (“Under New York law, an implied contract is formed when a university accepts a student
for enrollment: if the student complies with the terms prescribed by the university and completes
the required courses, the university must award him a degree.”); Vought v. Teachers Coll.,
Columbia Univ., 127 A.D.2d 654, 654 (N.Y. App. Div. 2d Dep't 1987) (finding that the terms of
the implied contract are “contained in the university's bulletins, circulars and regulations made
available to the student”).
        67
           See, e.g., Vought v. Teachers Coll., Columbia Univ., 127 A.2d 654, 655 (N.Y. App.
Div. 2d Dep’t 1987) (holding that “[w]hen a student is admitted to a university, an implied
contract arises between the parties" and that the “rights and obligations of the parties as
contained in the university’s bulletins, circulars and regulations made available to the student,
become a part of this contract”); Olsson v. Bd. of Higher Educ., 49 N.Y.2d 408, 413–14 (N.Y.
1980) (finding that implicit in a University’s contract is the requirement that the institution “act
in good faith in its dealing with its students”).
                                                   33
         Case 1:25-cv-02079-AS           Document 1        Filed 03/13/25       Page 34 of 36




policies. On November 1, 2023, then-President of the University Minouche Shafik and Barnard

College President Laura Rosenbury announced the creation of a “Doxing Resource Group,”

asserting that the “deliberate harassment and targeting of members of our community by doxing,

a dangerous form of intimidation, is unacceptable” and that both schools “ha[d] retained experts

in the field of digital threat investigation and privacy scrubbing to support our impacted

community members.”68

    115.        While Columbia and Barnard recognize the seriousness of the aforementioned

harm to Plaintiffs, their policies fail to adequately protect Plaintiffs. The failure to fulfill their

expressed commitment to protect Plaintiffs from these harms despite repeatedly expressing a

commitment to protect students from this harm constitutes a breach of contract. Moreover,

Columbia and Barnard have actively contributed to the doxing and harassment experienced by

students by turning over their private information to Congress without adequately ensuring that

Congress will in turn protect the students’ information.

    116.        Whereas Plaintiffs relied both upon the repeated and explicit commitment from

Defendants to uphold speech protections, including political and controversial speech, and then

failed to fulfill the commitments in the affirmative statement on free speech contained in the

Rules of University Conduct.69 Defendants are in breach of contract with Plaintiffs.

         WHEREFORE, on all Causes of Action, Plaintiffs demand damages in an amount to be

determined by this Court, as to documents referencing them already produced to the House




    68
       Columbia University, Office of the President, Announcing Doxing Resource Group (Nov.
1, 2023), https://president.columbia.edu/news/announcing-doxing-resource-group. See also
Columbia University, Office of the President, Standing in Solidarity (Oct. 27, 2023),
https://president.columbia.edu/news/standing-solidarity (detailing that the University “takes
[incidents of doxing] seriously and they are being investigated”).
    69
       Rules of University Conduct, §440, Affirmative Statement.
                                                     34
           Case 1:25-cv-02079-AS          Document 1       Filed 03/13/25      Page 35 of 36




   Committee; the issuance of a permanent injunction enjoining Congress from compelling the

   University to provide disciplinary records; Columbia and Barnard from complying with the Feb.

   13 Letter, as to such documents not already produced; a declaratory judgment pursuant to

   F.R.C.P. 57 and 28 U.S. Code § 2201, declaring the rights and other legal relations of the

   parties; together with such other and further relief as may be just and proper.

Dated: March 13, 2025                            Respectfully Submitted,

                                                 /s/ Amy E. Greer

                                                 Amy E. Greer (NY 5910179)
                                                 Dratel & Lewis
                                                 29 Broadway, Suite 1412
                                                 New York, NY 10006
                                                 (212) 732-8805
                                                 agreer@dratellewis.com

                                                 CAIR NATIONAL
                                                 LEGAL DEFENSE FUND
                                                 /s/Lena Masri
                                                 Lena Masri
                                                 Gadeir Abbas (VA 81161)*
                                                 453 New Jersey Ave SE
                                                 Washington, DC 20003
                                                 (202) 742-6420

                                                 COUNCIL ON AMERICAN ISLAMIC
                                                 RELATIONS – NEW YORK
                                                 /s/Lamya Agarwala
                                                 Lamya Agarwala (NY 5736061)
                                                 80 Broad Street, 5th Floor
                                                 New York, NY 10009
                                                 (646) 665-7599
                                                 lagarwala@cair.com

                                                 Jonathan Wallace
                                                 /s/ Jonathan Wallace
                                                 Jonathan Wallace (NY 1733757)
                                                 PO #728
                                                 Amagansett NY 11930
                                                 (917) 359-6234
                                                 jonathan.wallace80@gmail.com


                                                     35
Case 1:25-cv-02079-AS   Document 1     Filed 03/13/25     Page 36 of 36




                             *Licensed in VA, practice limited to federal matters

                             Attorneys for Plaintiffs




                                 36
